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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                      CASE NO.: 1:23-cv-23614


 ZANDA BALODE,

          Plaintiff,
 vs.

 INK 477 LLC,
 and FADI ABDULNOUR, Individually,

          Defendant.
                                               /

                       PLAINTIFF’S AMENDED STATEMENT OF CLAIM

          Plaintiff, ZANDA BALODE, (“Plaintiff”), by and through undersigned counsel, hereby

 states this claim as follows:

       1. Plaintiff has endeavored at this stage of litigation to formulate this Statement of Claim on

 the basis of the best data available. In addition, this response is based upon the undersigned

 counsel’s understanding of the facts and the information reviewed thus far.

       2. Discovery is yet to commence, thus this Statement of Claim, while believed to be accurate,

 does not constitute an affidavit or a binding statement and is subject to the Federal Rules of

 Evidence and Procedure. Because additional facts likely would be uncovered through discovery,

 Plaintiff in no way waives any right to present new or additional information at a later date, for

 substance or clarification. Moreover, by submitting this Statement of Claim, Plaintiff does not

 waive, and hereby preserves, any and all substantive and procedural rights that may exist.

 a. An initial estimate of the total amount of alleged unpaid wages;

          Plaintiff is owed approximately $1,309.68 in total unpaid wages. Plaintiff also seeks front
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        wages, back wages, compensatory damages, and attorneys’ fees and costs as a result of

        Defendant’s retaliatory actions in terminating Plaintiff’s employment.

 b. A preliminary calculation of such wages;

        Plaintiff makes approximately $7.96 per hour an worked approximately 30 hours per

 week—for a total of $238.8 base pay per week, or ($955.20 per month), however, Defendant

 regularly deducted 15% of wages from Plaintiff for each of Plaintiff’s paychecks, which is a total

 owed of [$143.28] in missed base pay wages per month for three months Plaintiff is owed wages

 for; a total of 143.28 x 3 = $429.84 in unliquidated unpaid base pay wages. Plaintiff is owed and

 additional liquidated amount in base pay unpaid wages. Plaintiff had her tips deducted by

 Defendant unlawfully as well by 15% for the months of February through April of 2023. Plaintiff

 is owed approximately $150.00 per month in due tipped wages (or 15% of her total $1,000.00

 average tipped wages). For a total of $150.00 x 3 = $450.00 owed in tipped wages for the relevant

 time period. Plaintiff was terminated as a result of her request for wages and opposition and

 objections to Defendant’s failure to pay wages. Indeed, Plaintiff requested her due and owed wages

 and was fired as a result thereof.

 c. The approximate period during which the alleged FLSA violations occurred—

        February 17, 2023, through April 22, 2023.

 d. The nature of the wages (e.g., overtime or straight time)—

        The Plaintiff seeks unpaid straight time (Plaintiff’s regular rate) and gap wages along with

 Plaintiff’s unpaid tipped wages. Plaintiff further seeks unliquidated and liquidated damages.




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 Dated: November 28, 2023                  Respectfully submitted,



                                           /s/ Jorge Costa
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 28, 2023, I electronically filed the foregoing

 document with the CM/ECF E-Filing Portal. I also certify that the foregoing document is being

 served this day on all counsel of record or pro se parties, either via electronic transmission of

 Notices generated by the CM/ECF E-Filing Portal or in some other authorized manner for those

 counsel or parties who are not authorized to receive such Notices.

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